
PER CURIAM.
The appellant, Lascelles Albert Hines, appeals from the denial of his motion for leave to withdraw plea of nolo contendere and to vacate judgment and sentence.
We have considered each aspect of this appeal and find only one claim meritorious. The appellant asserts, and the state concedes, that the appellant pleaded to an offense which is not a crime in Florida: conspiracy to attempt to possess cannabis with intent to sell.
This matter is therefore remanded to the trial court with instructions to vacate the judgment and sentence on Count I. In all other aspects the denial of the appellant’s motions is affirmed.
SCHOONOVER, A.C.J., and FRANK and HALL, JJ., concur.
